Case 6:14-cv-01547-GAP-KRS Document1 Filed 09/24/14 Page 1 of 9 PageID 1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION malts bs

SANTA D. ABREU, Case Nofyt | 4-O/- |S Hq -oRL-
Plaintiff SK QS

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VS.

PENNCRO ASSOCIATES INC.
a Pennsylvania corporation,

and

JOHN AND JANE DOES | - [I
Defendants

 

COMPLAINT
(Jury Trial Demanded)

I. INTRODUCTION

1. This is an action for damages brought by an individual consumer, SANTA D.
ABREU (hereinafter referred to as “SANTA ABREU” or “Plaintiff’), for Defendants’
violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (hereinafter
"FDCPA") which prohibit debt collectors from engaging in abusive. deceptive, and unfair
practices. Defendant PENNCRO ASSOCIATES INC.’s (hereinafter referred to as
“PENNCRO”) violations of the FDCPA arise from PENNCRO’s attempt to collect an account
that SANTA ABREU had discharged in bankruptcy by sending her a letter which demanded
that she pay PENNCRO monies for an account that she had discharged in bankruptcy.
Plaintiff seeks an award of statutory damages in the amount of $ 1,000.00 and reasonable

atlorncy’s fees pursuant to 15 U.S.C. § 1692k and taxable costs.
Case 6:14-cv-01547-GAP-KRS Document1 Filed 09/24/14 Page 2 of 9 PagelID 2

I, JURISDICTION AND VENUE

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Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. § 1331.

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Venue is proper in this District pursuant to 28 U.S.C. § 1391 (b) and (c) and 15
LS.C. § 1692k because the conduct complained of occurred in Florida and Plaintiff resides in
this District, and the Defendant transacts business here.

lil, PARTIES

4. Plaintiff, SANTA D. ABREU (hereinafter, referred to as “SANTA ABREU” or
“Plaintiff’), is a natural person residing in Orange County, Florida. Plaintiff has resided within
the Middle District of Florida at all times pertinent.

5. Defendant, PENNCRO ASSOCIATES, INC. (hereinafier, referred to as
“PENNCRO” or “Defendant’) is a corporation and a citizen of the State of Pennsylvania
whose principal place of business is 95 James Way, Suite 113 in Southhampton, PA 18966-
3847.

6.. Plaintiff effected valid service of process upon Defendant PENNCRO by properly
serving Defendant as required by Pennsylvania law.

7. Atall material times herein. the Defendant PENNCRO engaged in its usual and
customary business within Florida.

8. Plaintiff also sues the person or persons who created, approved, directed, and/or
participated in the collection practices that are the subject of this litigation. The identity of these
persons is known to Defendant PENNCRO but is not presently known to Plaintiff. These
defendants Defendants JOHN and JANE DOES | - III are hereinafter referred to as DOES I -

III. (Defendants PENNCRO and DOES 1 - IIE are hereinafter collectively referred to as the

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Case 6:14-cv-01547-GAP-KRS Document1 Filed 09/24/14 Page 3 of 9 PagelID 3

“Defendants”).

9. All acts of the individual defendants described below were with the authority and
knowledge of PENNCRO and were within the scope of the employment and agency of the
individual defendants.

10. Defendants PENNCRO and DOES | - III are "debt collectors” as defined by the
FDCPA, 15 U.S.C. § 1692a(6), because they regularly use the mails and/or the telephone to
collect, or attempt to collect, delinquent consumer debts, including delinquent consumer debts
in the Middle District of Flonda.

11. Defendant PENNCRO uses the instrumentalities of interstate commerce or the mail
in its business.

12. Defendant PENNCRO uses telephone communications in its business.

13. Defendant PENNCRO uses the mail in its business.

14. The principal purpose of Defendant PENNCRO’s business is the collection of debts.

15. Defendant PENNCRO regularly collects or attempts to collect debts asserted to be
owed or due to another.

16. Defendant PRENNCRO ts a debt collector subject to the provisions of the Federal
Fair Debt Collections Practices Act.

17. All acts of the individual defendants described below were with the authority and
knowledge of PENNCRO and were within the scope of the employment and agency of the
individual defendants.

18. Plaintiff SANTA ABREU incurred the alleged debt (the “Account’) for personal,

family or houschold expenses. At all times material hereto, SANTA ABREU was a
Case 6:14-cv-01547-GAP-KRS Document1 Filed 09/24/14 Page 4 of 9 PagelD 4

“consumer” as this term is defined under 15 U.S.C. § 1692a(3).

19. Atall times material hereto, Fortiva was a “creditor” as this term is defined under
15 U.S.C. § 1692a(4).

20. Atall times material hereto, the Account between Fortiva and SANTA ABREU
was a “debt™ as this term is defined under 15 U.S.C. § 1692a(5).

IV. FACTS

21. On February 28, 2013, SANTA ABREU filed a voluntary Chapter 7 bankruptcy
petition in the Orlando Division of the United States Bankruptcy Court. (Case No. 6:13-bk-
02331-KSJ).

22. Plaintiff SANTA ABREU listed the Fortiva account in her bankruptcy.

23. On Jun 4, 2013, the Bankruptcy Court entered an order entitled “Discharge of
Debtor” (hereinafter referred to as the “Discharge Order’).

24, On June 4, 2013, the Bankruptcy Court entered an order entitled “Order
Approving Chapter 7 Account, Discharging Trustee, Canceling Bond and Closing Estate”.
Plaintiff's case was a “no asset” bankruptcy. A “no asset” bankruptcy is a Chapter 7 case
where the Trustee does not recover any monies for distribution to the unsecured creditors. Ina
“no asset” bankruptcy, debts allegedly owed to general unsecured creditors such as the Account
upon which this case arises are discharged regardless of whether the creditor is listed or actually
receives notice. See In re Mason, 2007 BR Lexis 1984 (Bankr. N.D. AL; 1984); In re James,
184 B.R. 147 (Bankr. N.D. Ala 1995); In re Mendiola, 99 B.R. 864 (Bankr. N.D. Ill. 1989).

25. The Account was discharged in SANTA ABREU’s Chapter 7 bankruptcy.

26. No person, including but not limited to Fortiva, filed an adversary action secking
Case 6:14-cv-01547-GAP-KRS Document1 Filed 09/24/14 Page 5 of 9 PagelD 5

to determine dischargeability of the Account. Fortiva did not file a reaffirmation agreement
with the bankruptcy court. The Account was discharged in Plainuff's bankruptcy.

27. “Scrubbing” debt portfolios for bankruptcies is inexpensive and is an industry
standard to assure compliance with the Fair Debt Collections Practices Act (“FDCPA”). See,
c.z., ACA International Statement on the Buying and Collecting of Bankrupt Debt released
November 7, 2007 (available at http:/Avww.acainternalional_org/?cid= 11398) (“ACA members
‘scrub’ accounts through nationally known databases to remove any bankruptcy filings.’’)
Bankruptcy case information is available via the internet through Public Access to Court
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Electronic Records (“PACER”) (http:/‘pacer.psc.uscourts. and through “scrub” services.

  

See, hutp./www.phinsolutions.com; http:/‘www.banko.com: and http://www. fairisaac.com
(“UniScore”). Based upon information and belief, Defendant PENNCRO failed to scrub or
adequately scrub the Account.

28. Onor about September 26, 2013, Defendant PENNCRO mailed SANTA ABREU
a form letter which stated that the “balance due” was $ 1,830.00. Defendant’s letter to Plaintiff
stated that “The above referenced account has been placed with our office for collecction.”
and “Please contact us at the number below to make arrangements for payments”. (A redacted
copy of the letter dated September 26, 2013, from PENNCRO to SANTA ABREU is attached as
Exhibit "A™.)

29. Defendant PENNCRO thereby violated 15 U.S.C. §§ 1692e and 1692e(2)(A) by
demanding that SANTA ABREU pay the discharged Account. Randolph v. IMBS, Inc., 368
F.3d 726, 728 - 730 (7" Cir. 2004); Tumer v. J.V.D.B. & Assoc., Inc., 330 F.3d 991, 995 (7"

Cir. 2003).
Case 6:14-cv-01547-GAP-KRS Document1 Filed 09/24/14 Page 6 of 9 PagelID 6

30. All of Defendant PENNCRO’s collection actions at issue in this matter occurred
within one year of the date of this Complaint.

31. The statements made by Defendant PENNCRO are to be interpreted under the
“least sophisticated consumer” standard. Jeter v. Credit Bureau, Inc., 760 F.2d 1168 (11" Cir.
1985).

COUNT I
ATTEMPTING TO COLLECT A DISCHARGED ACCOUNT
FAIR DEBT COLLECTIONS PRACTICES ACT

32. Plaintiff SANTA ABREU repeats and re-alleges and incorporates by reference
paragraphs | through 31 above.

33. Section 1692e of the FDCPA prohibits a debt collector from using any false,
deceptive or misleading representation or means in connection with the collection of a debt,
including but not limited to, the false representation of the character, amount or legal status of
any debt. See 15 U.S.C. § 1692(e) and § 1692(e)(2)(A).

34. Attempting to collect a debt that 1s not owed, due to a bankruptcy, is false,
deceptive or misleading, in violation of § 1692¢ of the FDCPA. Randolph v. IMBS, Inc., 368
F.3d 726, 728-730 (7" Cir. 2004); Turner v. J.V.D.B. & Assoc., Inc., 330 F.3d 991, 995 (7" Cir.
2003).

35. Defendant PENNCRO’s written statements to SANTA ABREU violated the
FDCPA’s prohibition against using any false, misleading or deceptive statements in the
collection of a consumer debt, in violation of 15 U.S.C. § 1692e¢ and § 1692e(2).

36. Defendant PENNCRO’s statements to SANTA ABREU violated the FDCPA, 15

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Case 6:14-cv-01547-GAP-KRS Document1 Filed 09/24/14 Page 7 of 9 PagelD 7

U.S.C. § 1692e prohibiting debt collectors from using any false. deceptive, or misleading
representation or means in connection with the collection of any debt.

37. Defendant PENNCRO’s statements to SANTA ABREU violated the FDCPA, 15
U.S.C. § 1692e(2)(A) prohibiting debt collectors from falsely representing the character,
amount, or legal status of any debt.

38. Defendant PENNCRO’s statements to SANTA ABREU violated the FDCPA, 15
U.S.C. § 1692e(10) prohibiting debt collectors from using any false representation or deceptive
means to collect or attempt to collect any debt or to obtain information concerning a consumer.

39. Asaresult of the above violations of the FDCPA, the Defendants are jointly and
severally liable to the Plaintiff SANTA ABREU for (1) statutory damages (in the amount of $

1,000); and (2) costs and reasonable atlomey's fees (pursuant to 15 U.S.C. § 1692k).

WHEREFORE, Plaintiff SANTA ABREU respectfully prays that judgment be entered
against the Defendants, PENNCRO ASSOCIATES INC. a Pennsylvania corporation and JOHN
and JANE DOES | through HI, jointly and severally, for the following:

A. Statutory damages (in the amount of $ 1,000.00) pursuant to 15 U.S.C. § 1692k;

B. Costs and reasonable attorney's fees pursuant to 15 U.S.C. § 1692k; and

C. For such other and further relief as may be just and proper.

DEMAND FOR JURY TRIAL

Please take notice that Plaintiff demands trial by jury on all issues so triable in this action.
Case 6:14-cv-01547-GAP-KRS Document1 Filed 09/24/14 Page 8 of 9 PagelD 8

DATED : SEPTEMBER 22, 2014.

Exhibit “A”

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DONALD PETERSEN

Law Ojfice of Donald E. Petersen

Post Office Box 1948

Orlando, FL 32802-1948

Voice : (407) 648-9050
Assistant / Messages : (407) 403 - 6760
E.C.F.(Only) : depecf@efl.rr.com
nail : Petersen22 1 @yahoo.com
F.B.N. 0776238

Lead Trial Counsel (to be noticed) for the Plaintiff.
SANTA D. ABREU

 
    

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— QQ ,
JAMES, HARPER)

The Advochtes Law Team, PPLC

964 Florida Avenue South

Rockledge, FL 32955 - 2113

Vaice : (321) 888-2020

Fax: (321) 400 - 1017

Email: BankruptcyTram@gmail.com

F.B.N. | 143103

Lead ‘Trial Counsel (also to be noticed) for the Plaintiff.
SANTA D. ABREU

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EXHIBIT List

Letter (dated September 26, 2013) from Defendant
to Santa Abreu (redacted)
120000

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ASSOCIATES, INC.
A PIMANCIAL SERVICES COMPANY

PO Box 3003
Phoenixville, PA 19460

Do not send correspondence to this address.

OFFICE HOURS: MON/WED/FRI: 7AM - 4PM CST;
TUE/THU : 12PM —- 9PM CST

Sep 26, 2013

  

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is - Abreu

Dear Santa Abreu:

  

 

STATEM

   
   
  

NAME: Santa Abreu
cLAM sé: G7
CREDITOR: FORTIVA

REGARDING: FORTIVA LINE OF CREDIT
ACCOUNT # ENDING IN: Qa?

 

$1,830.00

 

 

The above referenced debt has been placed with our office for collection.

Please contact us at the number below to make arrangements for payment.
Any payments made on this account should be made payabie to FORTIVA and mailed to our office in the retum envelope

provided.

Sincerely,
Penncro Associates
866-827-2906

Unless you notify this office within 30 days after receiving this notice that you dispute the validity of this debt or any portion
thereof, this office will assume this debt is valid. If you notify this office in writing within 30 days from receiving this notice,

that you dispute the validity of this debt or any portion thereof, this office will obtain verification of the debt or obtain a copy
of a judgment, if one exists, and mail you a copy of such judgment or verification. If you request this office in writing within
30 days after receiving this notice, this office will provide you with the name and address of the original creditor, if different

from the current creditor.

This communication is from a debt collector. This is an attempt to collect a debt and any information obtained will be used
for that purpose.

 
  
   

STATEMENT OF ACCOUNT
Santa Abreu

       

NAME:
CLAIM #:
CREDITOR: FORTIVA

REGARDING: FORTIVA LINE OF CREDIT

ACCOUNT # ENDING a
827-2906

 
 
  

   
 

 

FOR QUESTIONS CALL:
$1,830.00

   

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Please check here if your address or phone number has changed.
Please indicate changes below.

NAME
ADDRESS
CITY / STATE / ZIP
PHONE

 

 

 

 

AMOUNT ENCLOSED: §$

Mail all other correspondence to:
95 James Way, Suite 113
Southampton, PA 18966-3847

Mail payment to:
Fortiva

P.O. Box 105555
Atlanta, Ga 30348

887-Z300-18
